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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                       Southern District
                                                     __________  DistrictofofNew York
                                                                              __________

                                                                        )
                        Michael Cortez                                  )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                             Civil Action No.
                                                                        )
                                                                        )
  Stillwell Ready-Mix and Building Materials, L.L.C.,                   )
  Stillwell Realty Group, L.L.C., Stillwell Ready Mix                   )
                 L.L.C. & Vito Gargano                                  )
                           Defendant(s)                                 )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           Stillwell Realty Group, L.L.C.
                                           2543 Stillwell Ave
                                           Brooklyn, NY 11223




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Gregory Antollino, Esq.
                                           Antollino PLLC
                                           275 Seventh Avenue, Seventh Floor
                                           New York, New York 10001
                                           gregory@antollino.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:
                                                                                            Signature of Clerk or Deputy Clerk
